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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

                                            )
Kangol LLC                                  )
                                            )
                                 Plaintiff, )
v.                                          )
                                            )
                                            ) Case No.: 24-cv-1636
The Partnerships and Unincorporated         )
Associations Identified on Schedule A       )
                                            )
                              Defendants. )
                                            )


                        SEALED TEMPORARY RESTRAINING ORDER

          Plaintiff Kangol LLC (“Kangol”) filed an Ex Parte Motion for Entry of a Temporary

Restraining Order and Other Relief (the “Motion”) against the fully interactive, e-commerce

stores 1 operating under the seller aliases identified in Amended Schedule A to the Complaint and

attached hereto (collectively, “Defendants”) and using at least the domain names identified in

Schedule A (the “Defendant Domain Names”) and the online marketplace accounts identified in

Schedule A (the “Online Marketplaces”). After reviewing the Motion and the accompanying

record, this Court GRANTS Kangol’s Motion as follows.

          This Court finds, in the absence of adversarial presentation, that it has personal jurisdiction

over Defendants because Defendants directly target their business activities toward consumers in

the United States, including Illinois. Specifically, Kangol has provided a basis to conclude that

Defendants have targeted sales to Illinois residents by setting up and operating e-commerce stores

that target United States consumers using one or more seller aliases, offer shipping to the United



1
    The e-commerce store urls are listed on Schedule A hereto.

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States, including Illinois, and have sold products using infringing and counterfeit versions of

Kangol’s federally registered trademarks (the “Kangol Trademarks”) to residents of Illinois.

In this case, Kangol has presented screenshot evidence that each Defendant e-commerce store is

reaching out to do business with Illinois residents by operating one or more commercial,

interactive internet stores through which Illinois residents can and do purchase products using

counterfeit versions of the Kangol Trademarks. See Docket No. __, which includes screenshot

evidence confirming that each Defendant internet store does stand ready, willing and able to ship

its counterfeit goods to customers in Illinois bearing infringing and/or counterfeit versions of the

Kangol trademarks. A list of the Kangol Trademarks is included in the below chart.

               Registration Number                               Trademark
 535,357; 1,011,576; 1,490,292; 3,017,272;            KANGOL (standard character word mark)
 4,153,667; 4,384,997

 1,372,671; 4,204,801; 4,384,996




 2,235,981; 2,278,532




                                                 2
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 3,787,973




       This Court also finds that issuing this Order without notice pursuant to Rule 65(b)(1) of

the Federal Rules of Civil Procedure is appropriate because Kangol has presented specific facts in

the Declaration of Sean McCabe in support of the Motion and accompanying evidence clearly

showing that immediate and irreparable injury, loss, or damage will result to the movant before

the adverse party can be heard in opposition. Specifically, in the absence of an ex parte Order,

Defendants could and likely would move any assets from accounts in financial institutions to

unknown off-shore accounts. Accordingly, this Court orders that:

1.     Defendants, their officers, agents, servants, employees, attorneys, and all persons acting

       for, with, by, through, under, or in active concert with them be temporarily enjoined and

       restrained from:

       a. using the Kangol Trademarks or any reproductions, counterfeit copies, or colorable

             imitations in any manner in connection with the distribution, marketing, advertising,

             offering for sale, or sale of any product that is not a genuine Kangol product or not

             authorized by Kangol to be sold in connection with the Kangol Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             Kangol product or any other product produced by Kangol, that is not Kangol’s or not

             produced under the authorization, control, or supervision of Kangol and approved by

             Kangol for sale under the Kangol Trademarks;




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       c. committing any acts calculated to cause consumers to believe that Defendants’ products

          are those sold under the authorization, control, or supervision of Kangol, or are

          sponsored by, approved by, or otherwise connected with Kangol; and

       d. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

          moving, storing, distributing, returning, or otherwise disposing of, in any manner,

          products or inventory not manufactured by or for Kangol, nor authorized by Kangol

          to be sold or offered for sale, and which bear any of Kangol’s trademarks, including

          the Kangol Trademarks, or any reproductions, counterfeit copies, or colorable

          imitations.

2.     Defendants shall not transfer or dispose of any money or other of Defendants’ assets in

       any of Defendants’ financial accounts.

3.     Kangol is authorized to issue expedited written discovery to Defendants, pursuant to

       Federal Rules of Civil Procedure 33, 34, and 36, related to:

       a. the identities and locations of Defendants, their officers, agents, servants, employees,

          attorneys, and any persons acting in active concert or participation with them,

          including all known contact information and all associated e-mail addresses;

       b. the nature of Defendants’ operations and all associated sales, methods of payment for

          services, and financial information, including, without limitation, identifying

          information associated with the Online Marketplaces and Defendants’ financial

          accounts, including Defendants’ sales and listing history related to their respective

          Online Marketplaces; and

       c. any financial accounts owned or controlled by Defendants, including their officers,

          agents, servants, employees, attorneys, and any persons acting in active concert or



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          participation with them, including such accounts residing with or under the control of

          any banks, savings and loan associations, payment processors or other financial

          institutions, including, without limitation, PayPal, Inc. (“PayPal”), Alipay,

          ContextLogic Inc. d/b/a Wish.com (“Wish.com”), Alibaba Group Holding Ltd.

          (“Alibaba”), Ant Financial Services Group (“Ant Financial”), Amazon Pay, or other

          merchant account providers, payment providers, third party processors, and credit

          card associations (e.g., MasterCard and VISA).

4.     Upon Kangol’s request, any third party with actual notice of this Order who is providing

       services for any of the Defendants, or in connection with any of Defendants’ Online

       Marketplaces, including, without limitation, any online marketplace platforms such as

       eBay, Inc., AliExpress, Alibaba, Amazon.com, Inc., Wish.com, and Dhgate (collectively,

       the “Third Party Providers”), shall, within seven (7) calendar days after receipt of such

       notice, provide to Kangol expedited discovery, limited to copies of documents and

       records in such person’s or entity’s possession or control sufficient to determine:

       a. the identities and locations of Defendants, their officers, agents, servants, employees,

          attorneys, and any persons acting in active concert or participation with them,

          including all known contact information and all associated e-mail addresses;

       b. the nature of Defendants’ operations and all associated sales, methods of payment for

          services, and financial information, including, without limitation, identifying

          information associated with the Online Marketplaces and Defendants’ financial

          accounts, including Defendants’ sales and listing history related to their respective

          Online Marketplaces; and

       c. any financial accounts owned or controlled by Defendants, including their officers,



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          agents, servants, employees, attorneys, and any persons acting in active concert or

          participation with them, including such accounts residing with or under the control of

          any banks, savings and loan associations, payment processors or other financial

          institutions, including, without limitation, PayPal, Alipay, Wish.com, Alibaba, Ant

          Financial, Amazon Pay, or other merchant account providers, payment providers, third

          party processors, and credit card associations (e.g., MasterCard and VISA).

5.     Upon Kangol’s request, those with notice of this Order, including the Third Party

       Providers as defined in Paragraph 4, shall within seven (7) calendar days after receipt of

       such notice, disable and cease displaying any advertisements used by or associated with

       Defendants in connection with the sale of counterfeit and infringing goods using the

       Kangol Trademarks.

7.     Any Third Party Providers, including PayPal, Alipay, Alibaba, Ant Financial, Wish.com,

       and Amazon Pay, shall, within seven (7) calendar days of receipt of this Order:

       a. locate all accounts and funds connected to Defendants’ seller aliases, including, but

          not limited to, any financial accounts connected to the information listed in Schedule

          A hereto and any e-mail addresses provided for Defendants by third parties; and

       b. restrain and enjoin any such accounts or funds from transferring or disposing of any

          money or other of Defendants’ assets until further order by this Court.

8.     Kangol may provide notice of the proceedings in this case to Defendants, including notice

       of the preliminary injunction hearing, service of process pursuant to Fed. R. Civ. P.

       4(f)(3), and any future motions, by electronically publishing a link to the Complaint, this

       Order, and other relevant documents on a website and by sending an e-mail with a link to

       said website to the e-mail addresses provided for Defendants by third parties. The Clerk of



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        the Court is directed to issue a single original summons in the name of “BAR

        CORPORATION” and all other Defendants identified in the Complaint” that shall apply to

        all Defendants. The combination of providing notice via electronic publication and e-

        mail, along with any notice that Defendants receive from payment processors, shall

        constitute notice reasonably calculated under all circumstances to apprise Defendants of

        the pendency of the action and afford them the opportunity to present their objections.

9.      Kangol must provide notice to Defendants of any motion for preliminary injunction as

        required by Rule 65(a)(1).

10.     Schedule A to the Complaint (ECF No. 5), the Declaration of Sean McCabe and exhibits

        thereto (ECF No. 6), Kangol’s Memorandum in support of its Motion for Temporary

        Restraining Order (ECF No. 11), Amend Schedule A (ECF No. 26), and this Order shall

        remain sealed until further order by this Court or until the Order expires, whichever

        occurs earlier.

11.     Within seven (7) calendar days of entry of this Order, Kangol shall deposit with the Court

        $10,000, either cash or surety bond, as security, which amount has, in the absence of

        adversarial testing, been deemed adequate for the payment of such damages as any

        person may be entitled to recover as a result of a wrongful restraint hereunder.

12.     Any Defendants that are subject to this Order may appear and move to dissolve or modify

        the Order as permitted by and in compliance with the Federal Rules of Civil Procedure

        and the Northern District of Illinois Local Rules. Any third party impacted by this Order

        may move for appropriate relief.

13.     This Temporary Restraining Order without notice is entered at 10:00 A.M. on this 26th

        day of March 2024 and shall remain in effect for fourteen (14) calendar days.



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                                  Sharon Johnson Coleman
                                  United States District Judge




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                        Amended
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Defendant
                      Seller                    Seller URL             Product Listing URL(s)
   No.
            Hangzhou Chuanyue Silk     https://danasilk.en.alibaba.   alibaba.com/product-
   14       Imp And Exp Co., Ltd.      com/contactinfo.html           detail/_1600242720246.ht
                                                                      ml
            Guangzhou Unipin           https://unipincap.en.alibaba   alibaba.com/product-
   17       Sportswear Co., Ltd.       .com/contactinfo.html          detail/_1600593328251.ht
                                                                      ml
            Yiwu Zhipai Trade Co.,     https://zhipai.en.alibaba.co   alibaba.com/product-
   18       Ltd.                       m/contactinfo.html             detail/_1600713671370.ht
                                                                      ml
            Yiwu Lisa Knitting Raw     https://ywlisa.en.alibaba.co   alibaba.com/product-
   21       Materials Firm             m/contactinfo.html             detail/_1600830716548.ht
                                                                      ml
            Yiwu Mingqi Trading Co.,   https://mingqitrade.en.aliba   alibaba.com/product-
   23       Ltd.                       ba.com/contactinfo.html        detail/_1600914814503.ht
                                                                      ml




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